 Case 3:19-cv-00741-MMA-WVG Document 1 Filed 04/23/19 PageID.1 Page 1 of 11



1
     KIRA M. RUBEL [CALIF. STATE BAR NO. 253970]
     LAW OFFICE OF KIRA M. RUBEL
2    krubel@kmrlawfirm.com
3    3615 Harborview Drive, Suite C
     Gig Harbor, WA 98332-2129
4    Telephone: (800) 836-6531
5    Facsimile: (206)-238-1694

6    Attorney for Plaintiff
7    STEVEN WATERBURY

8

9                          UNITED STATES DISTRICT COURT
10                      SOUTHERN DISTRICT OF CALIFORNIA
11

12   STEVEN WATERBURY, an               )
     individual,                        )          CASE NO. '19CV0741 MMA WVG
13
                                        )
14          Plaintiff,                  )          Complaint for Damages and
                                        )          Injunctive Relief for claims arising
15
     vs.                                )          under The Telephone Consumer
16                                      )          Protection Act, 47 U.S.C § 227
     ASCENDANT MARKETING                )
17
     GROUP, LLC, and Does 1 through 10, )          Jury Trial Demanded
18   inclusive;                         )
                                        )
19
            Defendant.                  )
20                                      )
21
                                         Introduction
22
           1.    This is a lawsuit against Defendant ASCENDANT MARKETING
23
     GROUP, LLC (“Defendant” or “AMG”) for violations of the Telephone Consumer
24
     Protection Act, 47 U.S.C. § 227 (“TCPA”) arising out of Defendant’s illegal
25
     telemarketing campaign. Specifically, between October 2017 and October 2018,
26
     Plaintiff STEVEN WATERBURY (“Plaintiff”) received no less than 19 telemarketing
27
     calls to his residential telephone from Defendant and/or on Defendant’s behalf.
28
                                               1
                                                                                 COMPLAINT
                                                                      CASE NO.:______________
 Case 3:19-cv-00741-MMA-WVG Document 1 Filed 04/23/19 PageID.2 Page 2 of 11



1    Defendant made these calls to generate leads for Loan Depot, Inc. (who may also be a
2    relevant Defendant to this lawsuit) in an effort to sell mortgage refinancing. In doing
3    so, AMG very clearly violated the TCPA since it made telemarketing calls to
4    Plaintiff’s number which has been on the national Do-Not-Call list since 2003.
5    Plaintiff never otherwise gave consent to AMG to receive such calls and revoked any
6    perceived consent on multiple occasions. There can be no doubt as to Defendant’s
7    liability here.
8           2.     Plaintiff brings this lawsuit for the maximum in statutory damages,
9    injunctive relief, and any other available legal or equitable remedies arising out of the
10   illegal actions of Defendant.
11          3.     Plaintiff alleges as follows upon personal knowledge as to himself, his
12   own acts and experiences, and as to all other matters, upon information and belief,
13   including investigation conducted by his counsel.
14                               Parties, Jurisdiction and Venue
15          4.     Plaintiff Steven Waterbury is, and at all times mentioned herein was a
16   citizen and resident of the State of California who resides in San Diego, California.
17          5.     Defendant sells, vis a vis its telemarketing calls, mortgage refinancing
18   services, generating leads to then refer to mortgage lenders like Loan Depot, Inc., and,
19   on information and belief, collects a fee from the lender to generate these leads.
20   Defendant is, and at all times mentioned herein was, a company founded under the
21   laws of the State of California, whose primary corporate offices are located at 3456
22   Camino del Rio N. Suite 101, San Diego, California 92108. Therefore, at all times
23   relevant herein Defendant conducted business in the State of California and in the
24   County of San Diego, and within this judicial district by telemarketing to Plaintiff by
25   making telemarketing calls to a number that (a) was placed on the Do-Not-Call list,
26   (b) for which there was no other prior express consent to receive telemarketing calls,
27   and who (c) specifically revoked any perceived consent.
28          6.     Jurisdiction is proper under 28 U.S.C. § 1331 as the case involves a cause
                                                 2
                                                                                   COMPLAINT
                                                                        CASE NO.:______________
 Case 3:19-cv-00741-MMA-WVG Document 1 Filed 04/23/19 PageID.3 Page 3 of 11



1    of action for violations of a federal law of the United States.
2             7.     Venue is proper in the United States District Court for the Southern
3        District of California pursuant to 28 U.S.C. § 1391(b)(2) because a substantial part of
4        the events or omissions giving rise to the claim occurred in this judicial district.
5

6
                   THE TELEPHONE CONSUMER PROTECTION ACT OF 1991
                                 (TCPA) 47 U.S.C. § 227
7

8              8.    In 1991, Congress enacted the Telephone Consumer Protection Act, 47
9        U.S.C. § 227 (TCPA), 1 in response to a growing number of consumer complaints
10       regarding certain telemarketing practices.
11             9.    47 U.S.C. §227(c)(5) provides that any person who has received more
12       than one telephone call within any 12-month period by or on behalf of the same
13       entity in violation of the regulations prescribed under this subsection may bring a
14       private action based on a violation of the TCPA, as promulgated in the Code of
15       Federal Regulations.
16             10. The TCPA was established specifically in order to protect telephone
17       subscribers' privacy rights and help them to avoid receiving unwanted telephone
18       solicitations.2 “Congress found that consumers consider these kinds of calls,
19       ‘regardless of their content or the initiator of the message, to be a nuisance and an
20       invasion of privacy’[.]” 3
21             11. 47 C.F.R. § 64.1200(c), provides that "No person or entity shall initiate
22       any telephone solicitation" to " . . . (2) A residential telephone subscriber who has
23       registered his or her telephone number on the national do-not-call registry (“DNC”)
24

25
     1
       Telephone Consumer Protection Act of 1991, Pub. L. No. 102-243, 105 Stat.
     2394 (1991), codified at 47 U.S.C. § 227 (TCPA). The TCPA amended Title II of the
26
     Communications Act of 1934, 47 U.S.C. § 201 et seq.
27
     2
       47 U.S.C. § 227(b)(1)(A)(iii); See also S.REP. NO. 102-178, 1st Sess. 102nd Cong., at,
     4-5 (1991), reprinted in 1991 U.S.C.C.A.N. 1968.
28   3
       TCPA, Publ. L. No. 102-243, § 2, 105 Stat. 2394 (1991.)
                                                      3
                                                                                        COMPLAINT
                                                                             CASE NO.:______________
 Case 3:19-cv-00741-MMA-WVG Document 1 Filed 04/23/19 PageID.4 Page 4 of 11



1    of persons who do not wish to receive telephone solicitations that is maintained by
2    the federal government."
3          12. 47 C.F.R. § 64.1200 (e), provides that § 64.1200 (c) and (d) are
4    applicable to any person or entity making telephone solicitations or telemarketing
5    calls to telephone numbers to the extent described in the Commission's Report and
6    Order, CG Docket No. 02-278, FCC 03-153, 'Rules and Regulations Implementing
7    the Telephone Consumer Protection Act of 1991'.
8          13. 47 C.F.R. § 64.1200(d) further provides that "No person or entity shall
9    initiate any call for telemarketing purposes to a residential telephone subscriber
10   unless such person or entity has instituted procedures for maintaining a list of persons
11   who request not to receive telemarketing calls made by or on behalf of that person or
12   entity. The procedures instituted must meet the following minimum standards”:
13
           (1) Written policy. Persons or entitles making calls for telemarketing
               purposes must have a written policy, available upon demand, for
14             maintaining a do-not-call list.
15
          (2) Training of personnel engaged in telemarketing. Personnel engaged
16            in any aspect of telemarketing must be informed and trained in the
17            existence and use of the do-not-call list.

18
          (3) Recording, disclosure of do-not-call requests. If a person or entity
19            making a call for telemarketing purposes (or on whose behalf such a
20            call is made) receives a request from a residential telephone
              subscriber not to receive calls from that person or entity, the person
21            or entity must record the request and place the subscriber's name, if
22            provided, and telephone number on the do-not-call list at the time the
              request is made. Persons or entities making calls for telemarketing
23            purposes (or on whose behalf such calls are made) must honor a
24            residential subscriber's do-not-call request within a reasonable time
              from the date such request is made. This period may not exceed thirty
25            days from the date of such Request.
26
          (4) Identification of sellers and telemarketers. A person or entity making
27            a call for telemarketing purposes must provide the called party with
28            the name of the individual caller, the name of the person or entity on
                                                4
                                                                                  COMPLAINT
                                                                       CASE NO.:______________
 Case 3:19-cv-00741-MMA-WVG Document 1 Filed 04/23/19 PageID.5 Page 5 of 11



1
                 whose behalf the call is being made, and a telephone number or
                 address at which the person or entity may be contacted. The
2                telephone number provided may not be a 900 number or any other
3                number for which charges exceed local or long-distance transmission
                 charges.
4

5          (5) Affiliated persons or entities. In the absence of a specific request by
6              the subscriber to the contrary, a residential subscriber's do-not-call
               request shall apply to the particular business entity making the call
7              (or on whose behalf a call is made), and will not apply to affiliated
8              entities unless the consumer reasonably would expect them to be
               included given the identification of the caller and the product being
9              advertised.
10

11         (6) Maintenance of do-not-call lists. A person or entity making calls for
               telemarketing purposes must maintain a record of a consumer's
12             request not to receive further telemarketing calls. A do-not-call
13             request must be honored for 5 years from the time the request is
               made.
14

15         14.     Defendant violated § 64.1200 (c) by initiating more than one (1)
16   telephone solicitation to Plaintiff’s residential telephone line within a 12-month
17   period, even though he was registered on the National Do Not Call Registry, a listing
18   of persons who do not wish to receive telephone solicitations, which is maintained by
19   the federal government. In fact, Defendant made at least 19 such calls to Plaintiff.
20         15.     Plaintiff also specifically requested not to receive calls from Defendant,
21   as set forth in § 64.1200 (d)(3).
22         16.     Defendant clearly violated § 64.1200 (d) by initiating calls for
23   telemarketing purposes to Plaintiff’s residential telephone without instituting
24   procedures that comply with the regulatory minimum standards for maintaining a list
25   of persons who request not to receive telemarketing calls from them, as is evidenced
26   by the fact that Plaintiff repeatedly asked Defendant to stop calling, which they failed
27   and refused to do. On four (4) separate occasions, Mr. Waterbury informed Defendant
28   to stop calling. Defendant failed and refused to comply.
                                                 5
                                                                                    COMPLAINT
                                                                         CASE NO.:______________
 Case 3:19-cv-00741-MMA-WVG Document 1 Filed 04/23/19 PageID.6 Page 6 of 11



1          17.    Defendant also violated § 64.1200 (d) by spoofing its name and phone
2    number which appeared on Plaintiff’s caller ID on all of the calls.
3          18.    In addition to violations of Section (c) of the TCPA [hereinafter referred
4    to as the “Do Not Call Provision”], Defendant also violated Section (b) of the TCPA,
5    which generally regulates, among other things, the use of automated telephone
6    equipment, referred to as “ATDS” or “autodialers.” 4
7          19.    The Federal Communications Commission [“FCC”] is the entity charged
8    with interpreting and clarifying the TCPA. On October 16, 2012, the FCC released a
9    report and order which further clarified the TPCA as it pertains to telemarketers. This
10   Order revised the TCPA to require prior express written consent to receive
11   telemarketing calls, repealed the “established business relationship” exception to
12   telemarketing calls, requiring consent be specific to each company (rather than blanket
13   consent), and specifically included both autodialed and prerecorded telemarketing
14   calls to landlines as a prohibited practice.5
15         20.    Accordingly, Plaintiff seeks to recover damages under both sections (b)
16   and (c) of the TCPA, in what is called “stacking” these provisions. “Congress
17   evidenced its intent that a person be able to recover for the telemarketer’s failure to
18   institute minimum procedures for maintaining a do-not-call list as well as the
19   additional harm of the call being automated.” Charvat v. NMP, LLC, 656 F.3d 440,
20   449 (6th Cir. 2011.) District Courts within California have confirmed that the Sixth
21   Circuit’s logic in Charvat is sound. “[T]he court finds persuasive the Sixth Circuit’s
22   holding that ‘the fact that the statute includes separate provisions for statutory
23   damages in subsections (b) and (c) suggests that a plaintiff could recover under both.’
24   ” Roylance v. ALG Real Estate Services, Inc., 2015 U.S. Dist. LEXIS 44930 (N.D.
25

26

27   4
      47 U.S.C. § 227(b)(1)(A)(iii).
     5
      In re Rules & Regs. Implementing the TCPA of 1991, 27 FCC Rcd. 1830, 1838,
28
     (Feb. 15, 2012).
                                                     6
                                                                                    COMPLAINT
                                                                         CASE NO.:______________
 Case 3:19-cv-00741-MMA-WVG Document 1 Filed 04/23/19 PageID.7 Page 7 of 11



1    Cal. March 16, 2015); see also Drew v. Lexington Consumer Advocacy, LLC, 2016
2    U.S. Dist. LEXIS 52385, at *33 (N.D. Cal. Apr. 18, 2016).
3                                      Factual Allegations
4       21. At all times relevant, Plaintiff was a citizen of the State of California.
5          Plaintiff is, and at all times mentioned herein was, a “person” as defined by 47
6          U.S.C. § 153 (39).
7       22. Defendant, at all times mentioned herein, was an entity that meets the
8          definition of “person,” as defined by 47 U.S.C. § 153 (39).
9       23. At all times relevant, Defendant conducted business in the State of California
10         and in the County of San Diego, within this judicial district, and in fact, on
11         Ruffin Road.
12      24. From October 2017 through October 2018, Plaintiff received at least 19
13         telemarketing calls from Defendant (and/or its agents calling on its behalf).
14      25. These telemarketing phone calls were the first time Plaintiff was made aware
15         of Defendant’s business or had any interaction with Defendant whatsoever.
16         Plaintiff never gave his prior express consent to receive these unsolicited
17         telemarketing calls from Defendant. Plaintiff has never used any services
18         offered by Defendant and had no pre-existing relationship with Defendant. In
19         fact, Plaintiff does not know how Defendant acquired his telephone number.
20      26. Plaintiff picked up many of these harassing telemarketing calls from
21         Defendant. On the third call, Plaintiff answered the phone, heard that the caller
22         was clearly a telemarketer and told the caller to STOP CALLING.
23      27. But, Defendant was undeterred and continued calling in the succeeding
24         months.
25      28. During some of the calls, AMG also used the name of its “sister company”
26         Waterfront Consulting. On at least one occasion, AMG acknowledged that
27         Waterfront Consulting was the same as AMG.
28
                                                 7
                                                                                    COMPLAINT
                                                                         CASE NO.:______________
 Case 3:19-cv-00741-MMA-WVG Document 1 Filed 04/23/19 PageID.8 Page 8 of 11



1     29. Regardless of whether the caller claimed to be from “Waterfront Consulting”
2        or AMG, all calls were from the same phone number with caller ID “B Harris”.
3     30. Plaintiff believes that all calls were made by autodialer. This belief is based
4        on several facts. First, at least one of the callers acknowledged he was calling
5        from “a computer”. Secondly, on more than one occasion, Plaintiff answered
6        the phone to hear dead air. When he returned the call, it was disconnected.
7        These are all clear signs that Defendant was using an autodialer to make these
8        illegal phone calls to Plaintiff.
9     31. In total, Defendant called Mr. Waterbury at least 19 times in violation of his
10       rights under the DNC.
11    32. In total, Defendant called Mr. Waterbury at least 19 times with a spoofed
12       number.
13    33. In total, Plaintiff told Defendant to stop calling him four (4) times.
14    34. In total, on information and belief, Plaintiff was called at least 19 times by an
15       autodialer.
16    35. Plaintiff believes, on information and belief and investigation by Plaintiff and
17       counsel, that Defendant made every single one of these calls in an effort to
18       solicit Plaintiff’s business for mortgage services.
19    36. Defendant never obtained Plaintiff's prior express consent to receive
20       telemarketing calls of this nature. Notwithstanding the fact that Plaintiff did not
21       provide Defendant with his telephone number at any time, Defendant, or its
22       agents, have called Plaintiff on his residential telephone for the purposes of
23       telemarketing, even in spite of the fact that Plaintiff’s phone number has been
24       on the national do-not-call registry since 2003.
25    37. Defendant and/or its agent’s acts constituted a significant and real invasion of
26       Plaintiff’s privacy. In fact, Defendant’s acts interrupted meal times and time
27       that Plaintiff intended to spend with his family. These calls were extremely
28       harassing and caused Plaintiff tangible harm.
                                               8
                                                                                 COMPLAINT
                                                                      CASE NO.:______________
 Case 3:19-cv-00741-MMA-WVG Document 1 Filed 04/23/19 PageID.9 Page 9 of 11



1     38.As a result of Defendant’s conduct as alleged herein, Plaintiff suffered actual
2           damages and, under sections 47 U.S.C. § 227(b) and (c), is entitled to receive
3           from $500-$1,500 in damages for each violation of subpart (b) and each
4           violation of subpart (c) for a total of between $1,000 and $3,000 per phone call.
5     39.Plaintiff also alleges that Defendant’s misconduct was willful and knowing and
6           requests treble damages. Plaintiff never gave consent and specifically revoked
7           consent on multiple occasions. The idea that Defendant’s acts were not willful
8           is preposterous since Plaintiff revoked any perceived consent on multiple
9           occasions. Under §227(b)(3) and (c)(5), the Court can and should treble
10          damages here, since Defendant’s conduct was not only willful but undeterred
11          by Plaintiff’s protestations and even the filing of a small claims matter.
12
                                          FIRST CLAIM
                              Negligent Violations of 47 U.S.C. 227
13                         [Against Defendant and Does 1 through 10.]
14
      40. Plaintiff incorporates by reference all of the above paragraphs of this
15
            Complaint as though fully stated herein.
16
      41. The foregoing acts and omissions by Defendant constitute numerous and
17
            multiple negligent violations of the TCPA, and specifically, 47 U.S.C. §
18
            227(b)(1)(A) and (c)(5).
19
      42. As a result of Defendant’s negligent violations of the TCPA, Plaintiff is
20
            entitled to an award of $500.00 in statutory damages for each violation of 47
21
            U.S.C. § 227(c)(5) and $500.00 in statutory damages for each violation of 47
22
            U.S.C. § 227(b)(1)(A), for a total of $1,000 per call, or $19,000 in total
23
            damages. Plaintiff reserves the right to increase this requested amount if
24
            additional illegal calls are found during discovery.
25
      43. Plaintiff is also entitled to injunctive relief prohibiting such conduct in the
26
            future.
27
      ///
28
                                                 9
                                                                                    COMPLAINT
                                                                         CASE NO.:______________
Case 3:19-cv-00741-MMA-WVG Document 1 Filed 04/23/19 PageID.10 Page 10 of 11



1
                                    SECOND CLAIM
                      Knowing and/or Willful Violations of 47 U.S.C. 227
2                       [Against Defendant and Does 1 through 10.]
3
      44. Plaintiff incorporates by reference all of the above paragraphs as though fully
4
            stated herein.
5
      45. The foregoing acts and omissions of Defendant constitute numerous and
6
            multiple willful violations of the TCPA, and specifically, 47 U.S.C. §227(c)(5),
7
            and (b)(1)(A). At all times, Defendant knew that it was telemarketing to
8
            Plaintiff in spite of his number being on the do-not-call registry and in spite of
9
            his repeated requests that Defendant stop calling. At all times, Defendant knew
10
            its conduct was illegal, as evidenced by the spoofed caller ID, the continued
11
            calls even after Plaintiff made it very clear that Defendant had no consent to
12
            make such calls, the continued calls after Plaintiff filed a small claims matter,
13
            and the multitude of other lawsuits pending against Defendant alleging the same
14
            violations. Treble damages are warranted here for Defendant’s flagrantly
15
            abusive acts.
16
      46. As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. §
17
            227, Plaintiff is entitled to treble damages, as provided by statute, up to
18
            $1,500.00, for each and every violation, or $3,000 per call, for a total of
19
            $57,000. Plaintiff reserves the right to increase this requested amount if
20
            additional illegal calls are found during discovery.
21
      47. Plaintiff is also entitled to injunctive relief prohibiting such conduct in the
22
            future.
23
      ///
24

25
      ///
26

27
      ///
28
                                                 10
                                                                                    COMPLAINT
                                                                         CASE NO.:______________
Case 3:19-cv-00741-MMA-WVG Document 1 Filed 04/23/19 PageID.11 Page 11 of 11



1                                       Prayer For Relief
2          WHEREFORE, Plaintiff respectfully requests the Court grant Plaintiff the
3    following relief against Defendant:
4                           First Cause of Action for Negligent Violations
5          As a result of Defendants’ negligent violations of 47 U.S.C. § 227(b) and (c),
6    Plaintiff seeks $1,000.00 (one-thousand dollars) in statutory damages, for each and
7    every call, for a total of $19,000, as well as injunctive relief prohibiting such conduct
8    in the future, and any other relief the Court may deem just and proper.
9                  Second Cause of Action for Knowing and/or Willful Violations
10         As a result of Defendants’ willful and/or knowing violations of 47 U.S.C. §
11   227(b) and (c), Plaintiff seeks treble damages, as provided by statute, of $3,000.00
12   (three-thousand dollars) for each and every phone call, for a total of $57,000, as well
13   as injunctive relief prohibiting such conduct in the future, and any other relief the
14   Court may deem just and proper.
15                                  Trial By Jury Demanded
16         Pursuant to the Seventh Amendment of the Constitution of the United States of
17   America, Plaintiff is entitled to, and demands, a trial by jury on all counts so triable.
18

19   Date: April 22, 2019
20

21                                     LAW OFFICES OF KIRA M. RUBEL
22

23
                                       ____/s/ Kira M. Rubel_______________
                                       By: Kira M. Rubel, Esq.
24                                     Attorney for Plaintiff Steven Waterbury
25

26

27

28
                                                 11
                                                                                     COMPLAINT
                                                                          CASE NO.:______________
